139 F.3d 906
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.MICROSOFT CORPORATION, a Washington corporation, Plaintiff-Appellee,v.LIPPO BINDING, INC., a California corporation;  Sue-YehChang Lin, an individual, aka Su-Yueh Chang Lin;  Su-LinLin, an individual;  Ming Tang Lin, an individual;  Shu-ChinLin, an individual, Defendants-Appellants,andT &amp; A PRINTING, INC., a California corporation, Defendant.
    No. 97-56451.D.C. No. CV-97-728-GLT.
    United States Court of Appeals, Ninth Circuit.
    Submitted:  Feb. 9, 1998**.Decided Feb. 19, 1998.
    
      Appeal from the United States District Court for the Central District of California Gary L. Taylor, District Judge, Presiding.
      Before PREGERSON, CANBY, and LEAVY, Circuit Judges.
    
    
      1
      MEMORANDUM*
    
    
      2
      This preliminary injunction appeal comes to us for review under Ninth Circuit Rule 3-3.  We have jurisdiction under 28 U.S.C. § 1292(a)(1), and we affirm.
    
    
      3
      Our inquiry is limited to whether the district court has abused its discretion in granting the preliminary injunction or based its decision on an erroneous legal standard or on clearly erroneous findings of fact.  See Does 1-5 v. Chandler, 83 F.3d 1150, 1152 (9th Cir.1996).
    
    
      4
      The record before us shows that the district court did not rely upon an erroneous legal premise or abuse its discretion in concluding that appellee's showing of probable success on the merits and the possibility of irreparable injury was sufficient to warrant the preliminary injunctive relief.  See id.;   see also Sports Form, Inc. v. United Press Int'l, Inc., 686 F.2d 750, 753 (9th Cir.1982) (stating legal standards governing issuance of preliminary injunction).  Moreover, the court's factual findings are not clearly erroneous.  See Chandler, 83 F.3d at 1152.
    
    
      5
      Accordingly, the district court's grant of a preliminary injunction is AFFIRMED.
    
    
      
        **
         The panel finds this case suitable for decision without oral argument.  See Fed.  R.App. P. 34(a);  9th Cir.  R. 34-4
      
      
        *
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    